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                                                                                  2023 Jul-24 PM 01:58
                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA


                      UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ALABAMA
                           SOUTHERN DIVISION
 BOBBY SINGLETON, et al.,                )
                                         )
       Plaintiffs,                       )
                                         )
 v.                                      )
                                               Case No.: 2:21-cv-1291-AMM
                                         )
 WES ALLEN, in his official              )
 capacity as Secretary of State of       )       THREE-JUDGE COURT
 Alabama, et al.,                        )
                                         )
                                         )
      Defendants.


 EVAN MILLIGAN, et al.,                  )
                                         )
       Plaintiffs,                       )
                                         )     Case No.: 2:21-cv-1530-AMM
 v.                                      )
                                         )       THREE-JUDGE COURT
 WES ALLEN, in his official              )
 capacity as Secretary of State of       )
 Alabama, et al.,                        )
                                         )
      Defendants.                        )

Before MARCUS, Circuit Judge, MANASCO and MOORER, District Judges.

BY THE COURT:

                                     ORDER

      On February 7, 2022, the Court appointed Dr. Nathaniel Persily as a

cartographer to assist in these redistricting cases. See Singleton Doc. 102; Milligan


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Doc. 130; Caster Doc. 120. On July 21, 2023, the Alabama Legislature enacted and

the Governor signed into law a new congressional map (“the Remedial Plan”).

      Any objections to the Remedial Plan are due on July 28, 2023, and any hearing

on objections will commence on August 14, 2023. Dr. Persily today withdrew from

his appointment as the Court’s Cartographer. In light of the time sensitivity of these

proceedings, the parties are DIRECTED to submit three to five names of proposed

cartographers at or before 12:00 NOON CDT on FRIDAY, JULY 28, 2023. This

order does not alter the appointment of General Richard Allen as the Court’s Special

Master.


      DONE and ORDERED this 24th day of July, 2023.




                                     STANLEY MARCUS
                                     UNITED STATES CIRCUIT JUDGE



                                    _________________________________
                                    ANNA M. MANASCO
                                    UNITED STATES DISTRICT JUDGE




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